                                   Case:19-00935-jtg                  Doc #:29 Filed: 07/10/2019                            Page 1 of 2


                                                     UNITED STATES BANKRUPTCY COURT
                                                          Western District of Michigan
 In re:      Victor Bogosian, III                                                                   Case No.
             Heather Marie Bogosian                                      ,                          Chapter 13
 Debtor(s).                                                                                         Hon. John T. Gregg
                                                                         /                          Filed: March 11, 2019

                                             FIRST PRECONFIRMATION AMENDED CHAPTER 13 PLAN


III. DISBURSEMENTS

            A. ADMINISTRATIVE CLAIMS. The Debtor(s) shall pay in full, in deferred cash payments, all allowed claims
               entitled to priority under 11 U.S.C. § 507, including:

                 3. Attorney fees exclusive of costs and expenses: An initial fee of $ 3,200.00 less fees paid of $ 1,835.00,
                    leaving a fee balance in the amount of $ 1,365.00 to be paid by the Trustee pursuant to the priorities set
                    forth in paragraph IV.H of the Plan,unless otherwise marked below:

                         a.      Attorney fees shall be paid at the rate of $ 0.00 per month until paid in full pursuant to paragraph
                              IV. H of the Plan.
                         b.      Attorney fees shall be paid after all necessary equal monthly payments on secured continuing
                              claims, secured claims, assumed executory contract/unexpired lease claims which is a modification
                              of paragraph IV.H.

            SECURED CLAIMS.

                 1. Real Property:

                    a. Mortgage Payments: Unless otherwise stated, the Trustee shall commence paying the first post-petition
                      mortgage payment on the first day of the month following the month of the petition date.

                    b. Principal Residence Post-Petition Mortgage Payments and Prepetition Arrears: The following is the
                      street address and the tax ID parcel no. for the principal residence of the Debtor(s):

 Property No.           1 58981 46th Street Lawrence, MI 49064 Van Buren County
                        PPN: 80-14-018-062-00
                        Acquisition Date: 11/20/20014.

 Creditor Name                                                               Estimated Monthly Payment                            Estimated Taxes & Insurance
                                                                                      Amountiii                                    Arrearsiv Escrowed With
                                                                                                                                               Lender? Y/N
 1 Lake Michigan Credit Union                                                775.00                                      0.00                                    N

                                                THIS PLAN REMAINS UNCHANGED IN ALL RESPECTS
                                                     NOT IN CONFLICT WITH THIS AMENDMENT


 Date: July 10, 2019                                                                            /s/ Victor Bogosian, III
                                                                                                Victor Bogosian, III                     , Debtor


iii
   The monthly payment amount is an estimate and the Trustee shall pay the monthly payment amount based on the proof of claim as filed. The Plan authorizes the Trustee
to make post-petition regular mortgage or land contract payments prior to the proof of claim being filed. This provision does not preclude any party in interest from filing an
objection to the claim.
iv
  The amount of prepetition arrears is an estimate and the Trustee shall pay the prepetition arrears based on the proof of claim as filed. Any claim filed for prepetition arrears
shall be paid through the Plan over a reasonable period of time and pro-rata with other secured creditors without interest.
                                                                              1 - As updated on 11-23-16
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
                                   Case:19-00935-jtg                 Doc #:29 Filed: 07/10/2019               Page 2 of 2

 Date: July 10, 2019                                                                      /s/ Heather Marie Bogosian
                                                                                          Heather Marie Bogosian       , Debtor

 Date: July 10, 2019                                                                      /s/ Jeffrey D. Mapes
                                                                                          Jeffrey D. Mapes P70509      , Counsel for the Debtor(s)




                                                                        2 - As updated on 11-23-16
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                 Best Case Bankruptcy
